              Case 2:20-cv-00680-DGE Document 111 Filed 05/31/22 Page 1 of 5




 1                                                     THE HONORABLE DAVID G. ESTUDILLO
 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9   TOMMY BROWN, on his own behalf and                No. 2:20-cv-00680-DGE
     on behalf of other similarly situated
10   persons,                                          STIPULATION AND [PROPOSED]
                                                       ORDER TO EXTEND BRIEFING
11                          Plaintiff,                 DEADLINES
12          v.                                         NOTE ON MOTION CALENDAR:
13   TRANSWORLD SYSTEMS, INC., et al.,                 May 31, 2022
14                          Defendants.
15

16                                            STIPULATION
17          Pursuant to Western District of Washington Local Civil Rules 7(d)(1) and 10(g), Plaintiff
18   Tommy Brown (“Plaintiff”) and Defendants Transworld Systems Inc. (“TSI”), Patenaude &
19   Felix, APC (“P&F”), U.S. Bank National Association (“U.S. Bank”), National Collegiate
20   Student Loan Trust 2004-1, National Collegiate Student Loan Trust 2004-2, National Collegiate
21   Student Loan Trust 2005-1, National Collegiate Student Loan Trust 2005-2, National Collegiate
22   Student Loan Trust 2005-3, National Collegiate Student Loan Trust 2006-1, National Collegiate
23   Student Loan Trust 2006-2, National Collegiate Student Loan Trust 2007-1, and National
24   Collegiate Student Loan Trust 2007-2 (collectively, “the Trusts,” and together with TSI, P&F,
25   and U.S. Bank, “Defendants”)stipulate that Plaintiff’s deadline to file oppositions to the
26   Defendants’ Motions to Dismiss the Amended Complaint (Dkts. No. 105-108) in the above-

      STIPULATION AND [PROPOSED] ORDER                                        Henry & DeGraaff, PS
      TO EXTEND BRIEFING DEADLINES                                         113 Cherry St, PMB 58364
                                                                            Seattle, WA 98104-2205
      (No. 2:20-cv-00680-DGE) –1                                             Phone: 206.330-0595
                                                                               Fax: 206.4007609
                Case 2:20-cv-00680-DGE Document 111 Filed 05/31/22 Page 2 of 5




 1   referenced action is extended from May 31, 2022 to June 14, 2022. Likewise, the Defendants’
 2   deadline to file a Reply in Support of their Motions to Dismiss is extended from June 14, 2022 to
 3   July 19, 2021.
 4          1.        The Parties set their current briefing deadlines related to the Motions to Dismiss
 5   the Amended Complaint in response to stipulation and order filed in response to the Court’s
 6   February 14, 2022 directive to file a status report after (Dkt. Nos. 102, 103). No prior joint
 7   requests to extend the above deadlines have been made. In addition, the Plaintiff has represented
 8   by his counsel that they require additional time to analyze the issues presented in the pending
 9   Motions to Dismiss the Amended Complaint.
10          2.        The parties have entered into this stipulation and agreement to mutually cooperate
11   in the management of this action. Accordingly, the parties hereby stipulate and agree that the
12   deadlines set forth in the Order dated March 8, 2021 (Dkt. No. 103) should be modified as
13   follows:
14

15                EVENT                     SCHEDULED DATE                  RESCHEDULED DATE
16    Deadline for Plaintiff to file     May 31, 2022                     June 14, 2022
17    Oppositions to Defendants’
18    Motions to Dismiss the
19    Amended Complaint
20    Deadline for Defendants to         June 14, 2022                    July 19, 2022
21    file Reply in Support of their
22    Motions to Dismiss the
23    Amended Complaint
24          The extension of the above deadlines does not alter or modify any other rights or
25   responsibilities of the Parties except as stated herein permitted by law or under the Federal Rules
26   of Civil Procedure, or the Local Civil Rules.

      STIPULATION AND [PROPOSED] ORDER                                         HENRY & DEGRAAFF, PS
      TO EXTEND BRIEFING DEADLINES                                           113 Cherry St, PMB 58364
                                                                              Seattle, WA 98104-2205
      (No. 2:20-cv-00680-DGE) –2                                               Phone: 206.330-0595
                                                                                 Fax: 206.4007609
              Case 2:20-cv-00680-DGE Document 111 Filed 05/31/22 Page 3 of 5




 1   DATED: May 31, 2022.
 2
     HENRY & DEGRAAFF, P.S.                  CONSUMER LAW CENTER, LLC
 3
     By: /s/ Christina L. Henry              By: /s/ Phillip Robinson
 4                                           Phillip Robinson, Pro Hac Vice
     Christina L. Henry, WSBA No. 31273
                                             8737 Colesville Road, Suite 308
 5   113 Cherry St, PMB 58364                Silver Spring, MD 20910
     Seattle, WA 98104                       phillip@marylandconsumer.com
 6   Telephone: 206.330.0595
     Facsimile: 206.400.7609                 Counsel for Plaintiff
 7
     chenry@HDM-legal.com
 8
     Counsel for Plaintiff
 9
     BORISON FIRM, LLC                       SESSIONS, FISHMAN, NATHAN & ISRAEL
10
     By: /s/ Scott Borison                   By: /s/ Justin Homes, Esq.
11   Scott Borison, Pro Hac Vice             Bryan C. Shartle, Pro Hac Vice
     1900 S. Norfolk St., Suite 350          Justin Homes, Pro Hac Vice
12
     San Mateo, CA 94403                     Bradley St. Angelo, Pro Hac Vice
13   scott@borisonfirm.com                   3850 North Causeway Boulevard, Suite 200
                                             Metairie, LA 70002
14   Counsel for Plaintiff                   bshartle@sessions.legal
                                             jhomes@sessions.legal
15                                           bstangelo@sessions.legal
16                                           CORR CRONIN LLP
17                                           Benjamin C. Byers, WSBA No. 52299
                                             1001 Fourth Avenue, Suite 3900
18                                           Seattle, WA 98154
                                             bbyers@corrcronin.com
19

20                                           Attorneys for Transworld Systems Inc.

21                                           JONES DAY

22                                           By: Albert J. Rota
                                             Albert J. Rota, Pro Hac Vice
23                                           2727 North Harwood St.
                                             Dallas, TX 75201
24                                           ajrota@jonesday.com

25                                           Attorneys for U.S. Bank National Association

26

      STIPULATION AND [PROPOSED] ORDER                               HENRY & DEGRAAFF, PS
      TO EXTEND BRIEFING DEADLINES                               113 Cherry St, PMB 58364
                                                                  Seattle, WA 98104-2205
      (No. 2:20-cv-00680-DGE) –3                                   Phone: 206.330-0595
                                                                     Fax: 206.4007609
             Case 2:20-cv-00680-DGE Document 111 Filed 05/31/22 Page 4 of 5




 1   PERKINS COIE LLP                                LEE SMART, P.S., INC.
 2   By: /s/ Kristine E. Kruger                      By: /s/ Marc Rosenberg
     Kristine E. Kruger, WSBA No. 44612
 3   Thomas Abbott, WSBA No. 53024                   Marc Rosenberg, WSBA No. 31034
     1201 Third Avenue, Suite 4900                   1800 One Convention Place
 4   Seattle, WA 98101                               701 Pike St.
     Telephone: 206.359.8000                         Seattle, WA 98101
 5   Facsimile: 206.359.9000                         Mr@leesmart.com
     KKruger@perkinscoie.com
 6   TAbbott@perkinscoie.com                         Attorneys for Patenaude & Felix, APC
 7   Attorneys for Defendants U.S. Bank National
     Association, National Collegiate Student Loan
 8   Trust 2004-1, National Collegiate Student
     Loan Trust 2004-2, National Collegiate
 9   Student Loan Trust 2005-1, National
     Collegiate Student Loan Trust 2005-2,
10   National Collegiate Student Loan Trust 2005-
     3, National Collegiate Student Loan Trust
11   2006-1, National Collegiate Student Loan
     Trust 2006-2, National Collegiate Student
12   Loan Trust 2007-1, National Collegiate
     Student Loan Trust 2007-2
13

14

15

16

17

18

19

20

21

22

23

24

25

26

      STIPULATION AND [PROPOSED] ORDER                                   HENRY & DEGRAAFF, PS
      TO EXTEND BRIEFING DEADLINES                                     113 Cherry St, PMB 58364
                                                                        Seattle, WA 98104-2205
      (No. 2:20-cv-00680-DGE) –4                                         Phone: 206.330-0595
                                                                           Fax: 206.4007609
              Case 2:20-cv-00680-DGE Document 111 Filed 05/31/22 Page 5 of 5




 1
                                          [PROPOSED] ORDER
 2
            IT IS SO ORDERED. The amended deadlines are as follows:
 3

 4
                 EVENT                     SCHEDULED DATE                 RESCHEDULED DATE
 5
      Deadline for Plaintiff to file   May 31, 2022                     June 14, 2022
 6
      Oppositions to Defendants’
 7
      Amended Motions to Dismiss
 8
      Deadline for Defendants to       June 14, 2022                    July 19, 2022
 9
      file Reply in Support of their
10
      Motions to Dismiss
11
            The extension of the above deadlines does not alter or modify any other rights or
12
     responsibilities of the Parties except as stated herein permitted by law or under the Federal Rules
13
     of Civil Procedure, the Local Civil Rules, or the Court’s Chamber’s Procedures.
14
            DATED this _______ day of May, 2022.
15
                                                          _______________________________
16                                                        Honorable David G. Estudillo
17

18

19

20

21

22

23

24

25

26

      STIPULATION AND [PROPOSED] ORDER                                       HENRY & DEGRAAFF, PS
      TO EXTEND BRIEFING DEADLINES                                         113 Cherry St, PMB 58364
                                                                            Seattle, WA 98104-2205
      (No. 2:20-cv-00680-DGE) –5                                             Phone: 206.330-0595
                                                                               Fax: 206.4007609
